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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                    §
   Plaintiff,                                 §
                                              §                 CRIMINAL ACTION NO:
 v.                                           §                         3:19-CR-630-B
                                              §
 FRANCISCO JAVIER FRANCO-                     §
 PERALTA (01),                                §
 STEVEN DEAN ANTHONY (02),                    §
 SHARRON RENE ARNOLD (03),                    §
 JUSTIN DUANE BAKER (04),                     §
 CHRISTOPHER BOISSE (05),                     §
 JUAN CARLOS BONILLA (06),                    §
 DONALD PAUL BREWER (07),                     §
 TAMMY LOUISE CRAWFORD (08),                  §
 STEWART ALBERT ELIZARDO (10),                §
 MICHAEL ALLEN GIBBS (11),                    §
 FELIX GUILLEN (12),                          §
 ALLEC SHANIA HAMM (13),                      §
 MICHAEL WAYNE HOUGH (15),                    §
 MONTE JAMES LALUMIA (16),                    §
 MASON SCOTT MCCORMICK (17),                  §
 JOSEPH FLOYD MITCHELL (18),                  §
 ANGELINA LUNA PERALTA (19),                  §
 NOEL RANGEL BARCO (20),                      §
 AMIE DAWN SANMIGUEL (21),                    §
 DARRYL ALAN SIMS (22),                       §
 JAMES KEITH SMITH (23),                      §
 RIKKI LEE THOMPSON (24),                     §
 ANTONIO VALLE (25),                          §
   Defendants.                                §


        ORDER GRANTING DEFENDANT’S MOTION FOR CONTINUANCE

       Defendant FELIX     GUILLEN, through counsel, has filed an Unopposed Motion for
Continuance of Trial Setting and Resetting of Pretrial Deadlines (doc. 215). Said motion, in
accordance with the findings set forth below, on this May 20, 2020, is GRANTED.
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       In accordance with 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), the Court finds that the ends
of justice served by granting this motion for continuance outweigh the best interest of the public
and the defendant in a speedy trial. In this regard, the Court has considered factors which indicate
that its failure to grant this motion would deny counsel for defendant reasonable time necessary
for effective preparation, taking into account the exercise of due diligence. Therefore, any period
of delay resulting from this Court's granting the motion for continuance shall be excluded in
computing the time within which the trial of this cause must commence under 18 U.S.C. § 3161.
Further, the Court finds that in the interest of justice, this case shall be tried together with all co-
defendants, pursuant to 18 U.S.C. § 3161(h)(6) and therefore, any period of delay resulting from
the deadlines and hearings set forth in this order shall be excluded in computing the time within
which the trial of this cause must commence under 18 U.S.C. § 3161 for all co-defendants,
including the newly-apprehended defendant.

       Accordingly, it is ORDERED that the captioned case is set for trial on August 31, 2020 at
9:00 a.m. Pretrial motions, if any, are due July 20, 2020, and responses thereto are due August 3,
2020. Pretrial materials are due August 17, 2020. The pretrial conference will be set for August
28, 2020 at 10:00 a.m.

       SO ORDERED.

       SIGNED: May 20, 2020.




                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE
